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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION


HARLAN RICHEY                                                                     PLAINTIFF

v.                                 4:21-cv-00715-JM-JJV

LENARD HOGG,
Sheriff, Lincoln County                                                        DEFENDANT


                                        JUDGMENT

       Consistent with the Order entered separately today, Plaintiff’s claims are DISMISSED

WITHOUT PREJUDICE, and this case is CLOSED. It is certified that an in forma pauperis

appeal from this Judgment would not be taken in good faith. 28 U.S.C. § 1915(a)(3).

       Dated this 4th day of October 2021.




                                                       ________________________________
                                                       UNITED STATES DISTRICT JUDGE
